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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,
                                            Case No. 1:18-cr-109
       v.
                                            JUDGE DOUGLAS R. COLE
ANDREY SHULKIN, et al.,

              Defendants.


                             OPINION AND ORDER

      In this criminal matter, twelve defendants were each indicted on one count of

engaging in a criminal racketeering conspiracy in violation of the Racketeer

Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. § 1962(d). (Doc. 3). The

Court has since accepted pleas from, and imposed sentences on, the nine parties who,

to date, have been apprehended by authorities—Defendants Andrey Shuklin, Serghei

Verlan, Phyllis Ricci Quincoces, Vladimir Pestereanu, Ievgen Kariaka, Akhliddin

Kalonov, Roman Iakovlev, Jessica Martin, and Seth Nezat (collectively Defendants).

But a question remains for the Court relating to one aspect of their sentences:

restitution. That is because, as part of all the sentences imposed, the Court entered

judgments holding each defendant jointly and severally liable for the restitution owed

under the Mandatory Victim Restitution Act (MVRA). (Docs. 168, 246). But the Court

deferred ruling on the amount of such restitution until after all apprehended parties

had been sentenced and the government had sufficient evidence underlying the
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victims’ losses. (Doc. 246). The government has now moved on behalf of 87 victims for

the Court to finalize the Defendants’ sentences by ordering restitution in the amount

of $735,185.75. (Docs. 297, 305).

        As explained below, the Court GRANTS IN PART the Government’s Motion

for Restitution Order (Doc. 297) and ORDERS Shuklin, Verlan, Quincoces,

Pestereanu, Kariaka, Kalonov, Iakovlev, Martin, and Nezat jointly and severally

liable for restitution in the amount of $735,185.75 to be paid to victims according

to the schedule set forth in the separately filed Appendix to this Opinion and Order.

                                     BACKGROUND1

        On July 25, 2018, the grand jury indicted twelve individuals (the nine

Defendants, along with Evgenia Kukuy, Sanjar Fayziyev, and Sergey Bocharov) for

engaging in a criminal conspiracy in violation of RICO. (Doc. 3). As alleged in the

indictment and later confirmed by Defendants’ plea agreements,2 from approximately



1 As the Court noted, there are three Defendants indicted in this RICO conspiracy—Evgenia

Kukuy, Sanjar Fayziyev, and Sergey Bocharov—who remain fugitives. As a result, they have
not been tried or convicted of any of the charges listed in the indictment nor are they subject
to any sentence. For that simple reason, the Court’s decision today in no way affects their
cases. In other words, the Court’s recitation of details of this conspiracy are not to be
misunderstood as established facts or proof of the guilt or innocence of Kukuy, Fayziyev, or
Bocharov. Rather, these facts are established only as to those Defendants who have been
found guilty and sentenced for this RICO conspiracy, based on their agreement to these facts
as part of their respective signed plea agreements. Consistent with that understanding, the
Court draws the facts for this background section from those signed plea agreements. And
similarly, because Kukuy, Fayziyev, and Bocharov have not been convicted, the Court lacks
the authority to enter a restitution order against them. Simply, the decision today impacts
the sentences of only those who have been found guilty, convicted, and sentenced.
2 The statements of facts in the plea agreements laying out these details mirror the
indictment’s allegations. (Doc. 136, #695–97; Doc. 149, #756–57; Doc. 164, #851–52; Doc. 170,
#881–83; Doc. 183, #907–09; Doc. 187, #1101–02; Doc. 206, #1191–93; Doc. 228, #1424–25).
And although Verlan pleaded to the indictment, (Doc. 261), his admissions during his change-


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2013 until 2018, Defendants operated various moving companies that they advertised

as reputable businesses but used to bilk clients out of money. (Doc. 168, #868). The

racketeering scheme involved various businesses—all run by Defendants—that took

possession of clients’ household goods and then demanded higher prices (often based

on inflated measures of the cubic footage of truck space actually used in moving a

customer’s household goods) than the original contract price. (Id.). Defendants

essentially held the goods for ransom by refusing to deliver them until the customer

paid the higher prices. (Id.). And even when the customers would finally acquiesce

and pay that higher price, the enterprise often delivered goods late or not at all. (Id.

at #868–69). Beyond that, to avoid detection and prosecution for this fraudulent

activity, Defendants formed several new companies and used new identities in

connection with those enterprises. (Id. at #869).

       Following their arrests and pretrial proceedings, all nine apprehended

Defendants ultimately pleaded guilty to the single RICO count in the indictment.

(Docs. 136, 149, 164, 170, 183, 187, 206, 228, 261). And from September 2020 until

March 2023, the Court sentenced each for their part in this racketeering scheme and

entered judgments. (Docs. 166, 198, 221, 238, 241, 271, 279, 291, 294).

       Before the matter was reassigned to the undersigned and after the first

Defendant’s sentencing, the then-assigned judge issued an order setting forth the

procedures he intended to use to determine the proper amount of restitution owed.

(Doc. 168). That November 25, 2020, Order explained that 18 U.S.C. § 3664(d)(5)


of-plea hearing regarding the factual basis for his guilty plea similarly reflect the allegations
in the indictment. (Doc. 268, #1851–73).
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generally requires a court to ascertain the amount of restitution owed within 90 days

of a defendant’s sentencing. (Doc. 168, #871). But it noted that the Supreme Court

has permitted sentencing courts to enter restitution orders beyond that timeframe so

long as the sentencing court provided timely notice that restitution will be imposed

at a defendant’s sentencing and held open only the amount to be calculated at a later

date. (Id. at #871–72 (citing Dolan v. United States, 560 U.S. 605 (2010))). So the

Order explained that the Court would proceed to sentence all apprehended

Defendants, would impose restitution at each sentencing using a conservative

estimate based on the evidence proffered by the government, and would enter a final

order identifying the victims and the actual amount of restitution owed at the end of

the case. (Id. at #873).

       The matter was reassigned to the undersigned the same day. (Doc. 169). The

undersigned then presided over two additional sentencings at which hearings the

Court ordered Nezat and Pestereanu jointly and severally liable for the full

restitution amount to be ascertained later. (Docs. 197, 198; Doc. 221, #1393; Doc. 246,

#1628; see also Doc. 189, #1038, 1041). Considering the Court’s handling of those

sentencings and the difficulty of defining the restitution amounts piecemeal (given

Defendants would all be held jointly and severally liable for the total amount), the

government moved to have the Court modify the restitution procedures set forth in

the November 25, 2020, Order. (Doc. 223). On May 25, 2022, the undersigned granted

that motion. (Doc. 246). The Court, evaluating the provisions of the MVRA, again

concluded that Supreme Court caselaw authorized the Court to enter a final order of



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restitution outside the 90-day window found in 18 U.S.C. § 3664(d)(5), so long as the

Court provided notice at a defendant’s sentencing that restitution would in fact be

imposed (leaving only the amount open). (Doc. 246, #1629–30). And the Court agreed

with the government that a single determination of the restitution amount after all

apprehended Defendants were sentenced made better administrative sense. (See id.

at #1630). So it concluded that it would hold all apprehended Defendants jointly and

severally liable for any restitution obligation imposed at their sentencings without

requiring proof of—or setting—the exact amount of such restitution owed at that

time. Rather, after all had been sentenced and once the government had proof of the

victims’ losses, the Court would enter an order reflecting the total restitution value

for which the sentenced Defendants would be jointly and severally liable. (Id.).

      At each of the remaining sentencing hearings, in line with the undersigned’s

May 25, 2022, Order, the Court imposed restitution as part of the sentence and stated

that the restitution obligation would be joint and several, but deferred establishing

the loss amount itself until after the last apprehended defendant was sentenced. (Doc.

238, #1601–02; Doc. 241, #1617–18; Doc. 260, #1784; Doc. 271, #1895; Doc. 272,

#1897; Doc. 279, #2007–08; Doc. 291, #2069–70; Doc. 294, #2081–82). The last

sentencing was held on March 29, 2023. (Doc. 293). Around seven months later, the

government finally moved for the Court to set the restitution amount. (Doc. 297). Its

motion explained its process for contacting potential victims, its verification of the

evidence those victims proffered to prove the value of their losses, and its




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methodology for calculating what costs are properly owed as restitution. (Id. at

#2094–98). No party responded to this motion within the time specified by local rule.

      But the Court had questions about the government’s explanation and the

evidence it proffered. In particular, the Court was uncertain about the propriety of

the government’s exclusion of any money that had already been paid by insurance

companies from each victim’s calculated loss, given 18 U.S.C. § 3664(f)(1)(B) requires

courts not to consider “the fact that a victim has received … compensation with

respect to a loss from insurance or any other source … in determining the amount of

restitution.” And the Court had concerns that the government’s measure of the

victims’ losses was based on the ill-gotten gains Defendants had received because of

the scheme (a disgorgement theory), even though the Supreme Court has made clear

that the provisions in Title 18 of the United States Code use restitution in the sense

of “restoring someone to a position he occupied before a particular event.” Hughey v.

United States, 495 U.S. 411, 416 (1990) (analyzing the language of the MVRA); cf.

United States v. Higgins, No. 22-3538, 2023 WL 6536752, at *12–*13 (6th Cir. Oct. 6,

2023) (“District courts therefore ‘may not use the defendant’s gain to approximate the

victim’s loss unless the government establishes such a correlation that the

defendant’s gain can act as a measure of-—not a substitute for—the victim’s loss.’”

(quoting United States v. Hills, 27 F.4th 1155, 1202 (6th Cir. 2022))). Finally, the

Court noted that the government had excluded secondary costs, such as a victim’s

“lost wages,” (Doc. 297, #2097), or the “cost[s] for furniture while the[] [victim]

waited,” (Doc. 297-2, #2104), even though they appeared to be monies expended only



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because of the crime and thus recoverable under the Supreme Court’s definition of

restitution.

      So it met with the parties on April 17, 2024, to ask for clarification and to lay

out the additional information the government needed to provide. (4/17/24 Min.

Entry). At that conference, counsel for several Defendants, who had declined to

respond to the motion earlier, sought leave of the Court to file untimely responses. So

the Court set a deadline for Defendants to file their responses raising any objections

they then thought fit to raise and for the government to file its reply with the

additional information that had been discussed at the conference. (Id.).

      Three Defendants (Martin, Pestereanu, and Kalonov) responded. (Docs. 301,

302, 303). Martin’s filing, styled as a motion, requests apportionment of the

restitution award among Defendants and an order that any restitution she owes is to

be paid periodically in nominal amounts. (Doc. 301, #2119). Pestereanu’s filing makes

two arguments: (1) the Court should apportion the restitution award and (2) it lacks

jurisdiction to enter a restitution order because it has been more than 90 days since

his sentence and he has since completed his probation. (Doc. 302, #2121–22). Finally,

Kalonov (like the other two responding Defendants) seeks an order apportioning the

restitution award rather than holding him jointly and severally liable. (Doc. 303,

#2124). None of these filings expressly acknowledged the Court’s prior judgments in

each of their cases holding them jointly and severally liable for the ultimate

restitution award. The government then replied. (Doc. 305). It addressed the Court’s

concerns raised at the status conference, (id. at #2129–31), responded to the three



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Defendants that had filed briefs, (id. at #2132–34), and provided an updated

spreadsheet and declaration from the case’s investigative agent (Brian Christ)

providing evidence of the losses of the identified victims and explaining in greater

detail the process for calculating those numbers, (id. at #2132, Docs. 305-1, -2).3

       The matter is ripe for review.

                                    LEGAL STANDARD

       As already noted a few times, Defendants’ restitution obligations are governed

by the MVRA. (Doc. 168, #870–72; Doc. 246, #1629). Such restitution is mandatory

(unsurprising given the MVRA’s title includes the word “mandatory”). 18 U.S.C.

§ 3663A(a)(1) (“[W]hen sentencing a defendant convicted of an [applicable]

offense … the court shall order, in addition to … any other penalty authorized by law,

that the defendant make restitution to the victim of the offense”); United States v.

Kilpatrick, 798 F.3d 365, 388 (6th Cir. 2015) (applying the MVRA in a RICO case).

Victims must be compensated for “the full amount of their … losses caused by the

conduct underlying the offense conviction,” which losses the government must prove



3 In its reply (and in response to the Court’s concerns), the government revised its requested

restitution amount, which revised total is about $30,000 less than the amount originally
listed in its motion. (Compare Doc. 297, #2095, with Doc. 305, #2129, and Doc. 305-2, #2144).
The major change was Christ’s conclusion that the landlord that rented a warehouse to the
enterprise was not entitled to restitution, as it did not constitute a victim under the MVRA,
(compare Doc. 297-2, #2108, with Doc. 305-1, #2138, and Doc. 305-2, #2144)—a conclusion
with which the Court agrees, see infra Part C. As to the other changes to calculated loss
amounts, Christ declares that his subsequent review of the evidence in the government’s
possession caused him to revise certain amounts to reflect the values that were actually
verifiable. (Doc. 305-1, #2136 n.1). As this is the only evidence in the record, the Court accepts
Christ’s uncontroverted statements and accordingly relies on his superseding spreadsheet as
an accurate tabulation of victims’ verifiable losses assuming (as the Court finds below, see
infra Part C) that the methodology he employed comports with the MVRA’s diktats regarding
which harms are recoverable as restitution.
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by a preponderance of the evidence. Higgins, 2023 WL 6536752, at *12 (cleaned up).

“Although a district court need not make specific factual findings in calculating

restitution, the information underlying an award must have sufficient indicia of

reliability to support its probable accuracy.” United States v. Sawyer, 825 F.3d 287,

294–95 (6th Cir. 2016) (cleaned up). Put another way, restitution (in the nature of

equity) is not “a precise mathematical inquiry” but an inexact science that “involves

the use of discretion and sound judgment.” Paroline v. United States, 572 U.S. 434,

459 (2014). Though by statute a restitution award must be set within 90 days of

sentencing, 18 U.S.C. § 3664(d)(5), as this Court has already noted in this Opinion

and Order, the Supreme Court has explained that a sentencing court may permissibly

enter a restitution award beyond that statutory time frame so long as it timely

notifies a defendant that it is imposing a restitution obligation and that it simply is

holding open the amount to be established at a later date. Dolan, 560 U.S. at 617–20.

                               LAW AND ANALYSIS

      Given the nature of the responses filed by Martin, Pestereanu, and Kalonov,

the Court believes a short roadmap is in order. Pestereanu challenges the Court’s

jurisdiction to enter a restitution order at this time—more than 90 days after his

sentence and after he has served his term of probation. The Court will address this

argument first as a challenge to jurisdiction affects the Court’s power over the parties.

Dolan, 560 U.S. at 610 (“The expiration of a ‘jurisdictional’ deadline prevents the

court from permitting or taking the action to which the statute attached the deadline.

The prohibition is absolute.”). Finding that it properly has jurisdiction over this


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restitution matter, the Court will then turn to all three responding Defendants’

arguments that the restitution award should be apportioned among all sentenced

Defendants, rather than imposed on all jointly and severally. This step logically

follows as the nature of Defendants’ liability is a matter tangential to the award

amount itself and has been addressed by this Court previously, which means the

issue can be resolved without addressing the meat of the government’s motion. After

concluding (again) that joint and several liability is proper, the Court last turns to

whether the government has proved the victims’ losses by a preponderance of the

evidence and analyzes whether the government’s reply adequately addresses the

Court’s concerns raised at the April 17, 2024, status conference.

A.    Jurisdiction

      Pestereanu’s argument (though not developed with reference to any caselaw)

boils down to the mistaken beliefs that (1) the 90-day window set forth in 18 U.S.C.

§ 3664(d)(5) is jurisdictional, and (2) the expiration of his term of probation

terminates the Court’s authority over him. Both arguments fail.

      Start with the former. The Supreme Court explained clearly that the 90-day

timeline in § 3664(d)(5) is neither jurisdictional nor mandatory so long as the Court

ordered restitution at the time Pestereanu was sentenced. Dolan, 560 U.S. at 611.

The Court did just that. (Docs. 197, 198; Doc. 246, #1628–29). And Pestereanu cannot

suggest he did not have notice of this, as the Court addressed this issue at his

sentencing and he did not object to the Court’s holding open the amount of the award

(i.e., the Court’s retaining jurisdiction over calculating the proper award amount and


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entering an order to that effect) until after all others were sentenced. (Doc. 246,

#1629). So § 3664(d)(5) does not bar the Court from exercising jurisdiction to enter a

final restitution order.

      The latter theory—that jurisdiction is wanting because Pestereanu’s term of

probation has ended—fares no better. Given the Court imposed restitution as one

part of his sentence under the obligatory terms of the MVRA, that another portion of

his sentence (probation) has been fully served and satisfied does not wipe away

Pestereanu’s obligation to satisfy all outstanding terms of the sentence imposed. Such

an argument would be the equivalent of permitting a criminal defendant to wait out

his sentence without paying any outstanding monetary obligation and then to claim

that the outstanding judgment need not be paid because the liberty-restricting

portion of his sentence had been completed. Rather, by statute, the “liability to pay

restitution shall terminate on the date that is the later of 20 years from the entry of

judgment or 20 years after the release from imprisonment of the person ordered to

pay restitution.” 18 U.S.C. § 3613(b). It is no surprise then that a sentencing court

has the statutory authority to enforce outstanding restitution obligations against

certain delinquent defendants by subjecting them to (among other things)

resentencing, contempt, or the compulsory judicial sale of property. See id. §§ 3613A,

3614. Nor is it surprising that the United States may enforce the restitution order to

collect all outstanding judgments, id. §§ 3612, 3664(m)(1)(A), including by civil

mechanisms, such as by establishing a lien on a defendant’s property and foreclosing




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on such liens, id. § 3613; see also id. § 3664(m)(1)(B) (granting a victim a lien on the

defendant’s property).

      Simply put, the Court still has jurisdiction to enter and to enforce a restitution

obligation against Pestereanu (who was sentenced only three years ago). Cf. United

States v. Bogart, 576 F.3d 565, 573 (6th Cir. 2009) (affirming a restitution order

entered two years after the defendant’s sentencing after rejecting an argument that

the sentencing court lacked jurisdiction to enter the order).

B.    Joint and Several Liability

      What of the argument raised by Martin, Pestereanu, and Kalonov that the

Court should apportion the restitution obligation among Defendants? In their papers,

(Doc. 301, #2118–19; Doc. 302, #2121–22; Doc. 303, #2124), none seem to appreciate

that the Court previously resolved this issue. In their individual sentences, the Court

held each of them jointly and severally liable for the full restitution award. (Doc. 246,

#1628; Doc. 260, #1784; Doc. 271, #1895; Doc. 272, #1897; Doc. 294, #2081–82). In

other words, the Court already exercised its discretion to determine at their

sentencings whether to apportion liability or to hold each party jointly and severally

liable for the restitution amount, and the Court concluded that joint and several

liability was proper. 18 U.SC. § 3664(h) (“If … [multiple] defendant[s] [] contributed

to the loss of a victim, the court may make each defendant liable for payment of the

full amount of restitution or may apportion liability among the defendants … .”). So

those determinations are part of the final sentence in each of their cases. Id. § 3664(o).




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       For that reason, the briefs filed by Martin, Pestereanu, and Kalonov are best

construed as motions for the Court to modify the existing restitution orders against

each of them. But their requests to alter the liability already imposed do not work.

“When a court imposes a sentence, it does not have the authority to change

or modify that sentence unless such authority is expressly granted by statute.”

United States v. O’Hara, __ F.4th __, 2024 WL 3873437, at *2 (6th Cir. 2024) (cleaned

up). None of the responding Defendants has identified a statutory basis for the Court

to modify those prior determinations, which means the Court lacks the authority to

modify the liability previously assessed.4 Id. And the Court’s independent review of

the statutory provisions confirms that no modification of the nature of a defendants’

liability for a restitution order exists in any of the cross-referenced provisions. 18

U.S.C. § 3664(o) (allowing modifications to fix clerical errors, to amend the payment

schedule, to increase the restitution amount or time for collection based on new

information, to resentence the defendant for failure to pay, or to take other remedial

action to ensure compliance with an outstanding obligation); see United States v.

Phillips, 9 F.4th 382, 391 (6th Cir. 2021) (Bush, J., dissenting) (canvassing the grants

of authority under these provisions). So the Court may not modify the extant

restitution orders holding Defendants jointly and severally liable.5 Rather, their


4 That contrasts with the sentencing court’s express authority under 18 U.S.C. § 3664(d)(5)

to “modify” a restitution order after sentencing by entering a new order that defines the
amount of restitution owed. See Dolan, 560 U.S. at 618–21. This provision authorizes the
Court’s modification of the restitution orders as discussed below. See infra Part C.
5 Besides, Martin, Pestereanu, and Kalonov simply point to information that existed at the

time of their sentencings and articulate no new bases for justifying why joint and several
liability should not be imposed. (Doc. 301, #2118–19 (referring to the presentence


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remedy for having been denied apportionment was to challenge it via an appeal. 18

U.S.C. § 3664(o) (explaining that a restitution order constitutes a final appealable

judgment despite the Court’s authority under subsection (d)(5) to enter the amount

of that obligation after sentencing). And because the prior restitution orders imposing

joint and several liability stand, the Court denies their requests for apportionment.6

C.     Evidence in Support of Restitution Request

       Last but not least, the Court comes to the government’s request for restitution

and its explanation for how it arrived at its requested amount. No Defendant has

objected to the numbers presented. And no Defendant has presented rebuttal

evidence undermining the declaration the government proffers. Thus, so long as the

government’s evidence has the proper indicia of reliability and the amounts requested



investigation report); Doc. 302, #2121–22 (same); Doc. 303, #2124 (referring to the
presentence investigation report and his plea agreement’s statement of facts)). The Court
already accounted for such information at the time of sentencing and concluded that joint
and several liability was proper due to their factual admissions in their plea agreements that
reveal that each had meaningful (even if secondary or otherwise time-limited) involvements
in the racketeering enterprise, (Doc. 136, #695–97; Doc. 187, #1101–02; Doc. 228, #1424–25).
United States v. Smith, 79 F.4th 790, 799 (6th Cir. 2023) (explaining a court may hold
defendants liable for the entire loss of the enterprise under conspiracy principles even if the
court could ascertain a lesser amount closely related to the actions of the specific defendant).
In other words, they have added nothing to the record that would justify deviating from the
Court’s prior judgment, even assuming the Court had the authority to enter such a
modification (which, as explained, it does not, especially considering no party has pointed to
statutory authority to do so).
6 That said, the Court grants Martin’s request that her restitution obligation be repaid via

nominal periodic payments, (Doc. 301, #2119), given her economic situation, (Doc. 213,
#1297), the government’s non-opposition to her request, (Doc. 305, #2133), and the Court’s
statutory authority to modify a defendant’s payment schedule and to order repayment via
“nominal periodic payments,” 18 U.S.C. § 3664(f)(3)(B), (k), (o)(1)(D). And based on her
representation that she receives an annual salary of $64,000, (Doc. 301, #2118–19), and that
she had non-negligible net positive cash flow when her earnings were lower, (Doc. 213,
#1297), the Court concludes that these periodic payments shall take the form of a monthly
$200.00 payment.
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comply with the statutory provisions defining how a victim’s actual losses are

calculated, the government will have met its burden to prove the victims’ losses by a

preponderance of the evidence. Sawyer, 825 F.3d at 294–95.

      The government’s request primarily relies on the declaration executed by

Brian Christ, an agent with the United States Department of Transportation’s Office

of the Inspector General who specializes in investigating criminal activities within

the scope of the Department’s Federal Motor Carrier Safety Administration. (Doc.

305-1 ¶ 2, #2136). Christ declares that to arrive at each specific requested number he

used a specific workflow. He reviewed any victim impact statements provided and

analyzed any supporting documentation the victim provided. (Id. ¶ 5(a), #2137). He

declined to credit any victim’s personal assessment of losses by that victim without

additional verifying information and focused specifically on those supporting

documents that generally carry indica of reliability (e.g., police reports, inventories,

bills, and insurance claims). (Id. ¶ 5(b)–(c), #2137). And even if victims did not submit

documentation, Christ independently reviewed all evidence gathered during the

government’s investigation of this matter using those materials to calculate losses.

(Id. ¶ 5(d), #2138). Christ further declares that he made these assessments based on

his personal review of the relevant case materials. (Id. ¶ 3, #2136). Given his

declaration reflects his personal handling of the loss calculations and his asserted

methodology did not blindly accept estimates but demanded verifying documentation,

the Court concludes that the government has satisfactorily put forward evidence that

holds the requisite sufficient indicia of reliability (especially given no one has put



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forward arguments or evidence to the contrary). United States v. Rodgers, No. 3:17-

cr-16, 2020 WL 4495462, at *3 (E.D. Ky. Aug. 4, 2020) (explaining that a victim’s

statement combined with “[b]ank records, copies of checks, invoices, deposit slips, etc.

all demonstrate a presumably reliable record of financial loss[es]”); United States v.

Davis, Nos. 13-cr-44, 14-cr-23, 2015 WL 2154245, at *3 (E.D. Ky. May 7, 2015)

(collecting appellate caselaw that affirms restitution awards supported by only an

affidavit, a victim impact statement and spreadsheet with loss calculations, or the

presentence investigation report).

      What about the costs included in the calculated loss amounts and those that

were excluded—do those measures accurately capture the victims’ actual losses? As

noted above, caselaw relying on equitable principles has held that restitution is to be

used in its ordinary sense: the amount necessary to “restor[e] [a victim] to [the]

position he occupied before [the] [criminal] event.” Hughey, 495 U.S. at 416. Simply,

the restitution awarded should make the victim whole. United States v. Bailey, 973

F.3d 548, 576 (6th Cir. 2020).

      The damages Christ included in his victims’ loss calculations were (as

applicable) (1) the value of household goods that were never delivered or retrieved,

(2) payments victims made to the enterprise when they paid additional monies to

retrieve the undelivered goods, and (3) any costs the victim paid beyond the amount

for which the victim had contracted (charges for unused cubic footage and costs added

to the estimates after the goods had been loaded on the truck). (Doc. 305-1 ¶ 5(c)–(d),

#2137–38). By contrast, Christ did not include in the calculations losses attributable



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to (1) damage that occurred to specific goods, (2) the extra costs victims paid to have

their items retrieved given their receipt of restitution for the amount they paid the

enterprise, and (3) other secondary harms caused by the victims’ inability to retrieve

their household items (e.g., medical expenses or lost wages) when no verifying

documentation had been proffered. (Id. ¶ 5(c), #2137–38). Christ also offset the

restitution values by the amount of money victims were paid by insurers (instead

treating these monies as losses recoverable by the insurers themselves). (Doc. 305,

#2130–31; Doc. 305-1 ¶ 5(d), #2138). And finally, Christ declined to credit a landlord’s

request for restitution, given that entity merely rented a warehouse to the enterprise.

(Doc. 305-1 ¶ 5(c), #2138).

      After review of the government’s updated explanations, the Court concludes

that such calculations comport with a proper measure of the losses victims may

recover in restitution under the MVRA.

      Start with the rejection of the landlord’s claim for restitution. Under statute,

a victim is one who was “directly and proximately harmed as a result of the

commission of an offense for which restitution may be ordered including … any

person directly harmed by the defendant’s criminal conduct in the course of the

[racketeering] scheme.” 18 U.S.C. § 3663(a)(2) (emphases added). The criminal

conduct at issue involved the fraudulent misrepresentations of the moving companies

to customers about the costs of moving services and the increase of prices after the

fact. See Hughey, 495 U.S. at 416 (explaining that restitution under the MVRA “is

intended to compensate victims only for losses caused by the conduct underlying the



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offense of conviction” (emphasis added)). A landlord that rented a warehouse to the

enterprise for storage of goods would not have been harmed by the criminal conduct.

Certainly, the landlord incurred costs when it lost the enterprise as a customer, after

the latter shuttered its doors due to the indictment. But those injuries result from

the initiation of criminal prosecution and are thus not directly attributable to the

criminal conduct. So Christ properly declined to afford restitution to this entity.

      This principle also justifies Christ’s decision to exclude harms related to

damaged goods. The proper valuation of a restitution award is based on harms that

directly result from the criminal conduct, rather than merely consequential losses

with an attenuated connection to the enterprise. United States v. Bogart, 490 F. Supp.

2d 885, 894–95 (S.D. Ohio 2007) (explaining that when costs are “a reasonably

foreseeable result of the defendant’s [criminal] conduct”—such as attorney’s fees

required to recover a loan executed based on fraudulent misrepresentations—rather

than costs incurred indirectly—such as fees to prosecute a civil suit based on the

underlying criminal conduct—they are compensable as restitution). While damage to

goods while in the enterprise’s possession can be traced to Defendants in an indirect

sense, such injuries do not directly flow from the fraud the enterprise committed to

induce its victims to hire their moving companies. Without additional proof on

causation, it is not clear that such damage to victims’ goods would not have occurred

but for the fraudulent inducement to contract with the enterprise. Besides,

Defendants are subject to criminal punishment for their misrepresentations in

engaging in this enterprise, not for wanton destruction of others’ property. United



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States v. Saad, 544 F. Supp. 2d 589, 592 (E.D. Mich. 2008) (citing Ratliff v. United

States, 999 F.2d 1023, 1026 (6th Cir. 1993)). The Court therefore finds that Christ

properly excluded these damages to goods as not recoverable as restitution.

      On the other side of the ledger, the costs Christ did add to the victims’ loss

calculations accurately reflect the amount necessary to restore them to the place they

occupied before the criminal conduct. Compensating the victims for the goods never

delivered or retrieved is both attributable to the enterprise’s criminal conduct and

would make the victims whole: Defendants were convicted for failing to deliver their

clients’ goods in part to induce individuals to pay higher prices for delivery. So to the

extent that individuals lost their goods to this ransom-esque scheme, awarding

restitution for the value of the unreturned goods would remedy the harm wrought by

Defendants’ criminal conduct. And for similar reasons, the premium Defendants

extorted from clients after loading their goods (either by inflating the amount of space

used or by charging higher prices than what they had originally agreed) would also

properly be included in the restitution awards. Given the criminal conduct involved

the fraudulent inflation of costs, such payments are direct harms arising from the

enterprise’s activities. Victims are entitled to have the extortionate premiums

returned, as that would neutralize the taint of the criminal conduct and restore them

to their original positions sans the racketeering activities.

      Similarly, for victims who paid extra to have their goods retrieved from the

enterprise’s warehouses, restoring them to the place they were before the criminal

conduct would require that they be awarded restitution for the extra costs of paying



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two moving companies.7 Christ and the government both contend the victims should

be credited the costs paid to the enterprise, rather than the payments made to the

entity that ultimately retrieved the goods. (Doc. 305, #2130; Doc. 305-1 ¶ 5(c), #2137–

38). The Court had initially questioned awarding this value to victims because it

appeared to be a measure of Defendants’ ill-gotten gains, rather than victims’ losses,

and ill-gotten gains are a proper measure of restitution only if the government

establishes a correlation between the two. Hills, 27 F.4th at 1202. The government’s

reply clarified this issue. In its view, the nature of the criminal conduct reveals that

the monies paid to Defendants necessarily reflect the loss because they were

convicted for fraudulently advertising the repute of their moving companies, which

induced victims to contract with them rather than some other business. (Doc. 305,

#2130).

       This “fraudulent inducement” clarification mollifies the Court’s concern. “At

common law, a plaintiff could maintain an action for fraudulent inducement where

the defendant was ‘induced to make a contract of purchase by the fraudulent

misrepresentations of his vendor.’” Barnett v. Kroger Co., No., 2024 WL 2078209, at

*3 (S.D. Ohio May 8, 2024) (quoting Wilson v. New U.S. Cattle-Ranch Co., 73 F. 994,

997 (8th Cir. 1896)). And were the plaintiff successful, he “could rescind the contract


7 The Court agrees with the government and Christ that the victims are not entitled to both

the money paid to the enterprise and the extra money paid to another moving company to
retrieve the goods. (See Doc. 305-1 ¶ 5(c), #2137–38). The fraud Defendants committed did
not induce victims to move but induced them to hire Defendants to complete the move they
were already contemplating. As a result, that victims paid some money to move their goods
was inevitable. But victims are entitled to some return of value to the extent that the costs
of their move ballooned as a result of Defendants’ criminal conduct—falsely advertising their
moving companies as reputable.
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or affirm the contract and seek damages,” which means “the measure of the damages

is the consideration paid.” Id. (quoting Wilson, 73 F. at 997). As the Supreme Court

explained over a century ago, “[t]he right not to be led by fraud to change one’s

situation is anterior to and independent of the contract. The fraud[’s] … usual

consequence is that … the one who is defrauded has a right, if possible, to be restored

to his former position[:] … [to] have his money back.” Nat’l Bank & Loan Co. v. Petrie,

189 U.S. 423, 425 (1903); see Smith v. Bolles, 132 U.S. 125, 129–30 (1889) (holding

that the proper measure of damages for a claim for fraudulent inducement “was not

the difference between the contract price and the reasonable market value if the

property had been as represented to be,” but “[w]hat the plaintiff paid” for the

property). As applied to Defendants’ scheme (whose misrepresentations induced

victims to contract with them), the proper remedy as recognized at common law is to

restore the victims to their prior positions by returning the amount paid to

Defendants. Cf. United States v. Deller, Nos. 1:19-cr-116, 1:23-cv-485, 2024 WL

3540390, at *5 (S.D. Ohio July 25, 2024) (concluding that rescinding a plea agreement

and permitting a defendant to withdraw his plea was the remedy that “return[ed]

both parties to the positions they occupied before th[e] error [precipitated by

ineffective assistance of counsel] occurred” given the mistake figured into the

defendant’s calculus for entering into the plea agreement). Simply, this fraudulent

inducement theory adequately justifies awarding victims, who had to hire another

source to have the goods delivered, the value of the monies they paid to Defendants—

the equivalent of rescinding the contract induced fraudulently.



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       That leaves the viability of Christ’s two additional computations in arriving at

his calculation of victims’ losses: the exclusion of secondary harms and the offset for

any insurance monies paid out (both of which had partially motivated the Court to

hold the April 17, 2024, telephone status conference).

       As to the former, the government’s reply appears to concede that secondary

harms costs are recoverable as restitution. (Doc. 305-2, #2141 (including in one

victim’s total “items purchased while [he] waited for the delivery of [his] [household

goods]”)). After all, foreseeable second order costs occasioned by the failure to deliver

goods would need to be returned to the victim to put him back to the place he occupied

absent the criminal conduct. (See Doc. 305, #2130). But the government nonetheless

maintains that not all victims can recover those costs. That is because many who

suffered such losses never submitted supporting documentation, which means the

values “could not be verified.” (Id.; see, e.g., Doc. 305-2, # 2141 (noting that the victim

had “[i]nsufficient document[ation] to support payment for furniture while the[]

[victim] waited for delivery”)). Because the Court must formulate a restitution award

using evidence that has sufficient indicia of reliability, Sawyer, 825 F.3d at 294–95,

it finds that the government is correct to argue that the secondary losses requested

by certain victims cannot form a part of the losses recoverable as restitution in this

matter.8


8 To be clear, the Court reaches this conclusion only because the government represents that

some victims did not provide evidence to support their request for such losses. As a result, by
declining to award such costs to certain victims here, the Court should not be understood to
be holding that secondary losses that directly flow from the criminal conduct are not
recoverable as restitution under the MVRA—these direct secondary harms comfortably count


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       As for the latter (the adjustment for insurance already paid), the government

justifies this offset by reference to 18 U.S.C. § 3664(j)(1). (Doc. 305, #2131).

Subsection (j)(1) directs that whenever “a victim has received compensation from

insurance or any other source with respect to a loss, the [C]ourt shall order that

restitution be paid to the person who provided or is obligated to provide the

compensation.” In other words, the language in 18 U.S.C. § 3664(f)(1)(B) that

previously gave the Court pause is best understood as preventing a loss calculation

from being reduced because a victim is insured against the loss caused by a

defendant’s criminal conduct. But subsection (f)(1)(B) does not answer who receives

the award amount. That is resolved by subsection (j)(1), which directs the Court to

compensate the party who assumed the victim’s loss directly. Namely, “§ 3664(j)(1) []

shifts payment of [a victim’s] restitution amount … to th[e] [reimbursing] party.”

United States v. Thompson, 792 F.3d 273, 279 (2d Cir. 2015). For this reason, the

Court concludes that the government properly reduced the award for victims who

already received compensation from insurers and correctly submitted the insurers’

claims with its restitution request. And the Court agrees with the government that

the insurers (and Salvation Army, which assumed some of the victims’ losses by

assisting in recovery of goods the enterprise never delivered, Thompson, 792 F.3d at

278) are to be paid after the individual victims, (Doc. 297, #2098), in line with the



towards “the full amount of [a] victim’s loss[].” 18 U.S.C. § 3664(f)(1)(A). Should victims come
forward with additional evidence supporting these secondary harms, they may petition the
Court for an order adding those costs to the restitution amount as laid out in the MVRA—
though the Court acknowledges that such a request will likely face an uphill battle, as the
requesting party must show “good cause for the failure to include such losses in the initial
claim for restitutionary relief.” Id. § 3664(d)(5).
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MVRA’s statutorily mandated order of priority. 18 U.S.C. § 3664(j)(1) (“[T]he

restitution order shall provide that all restitution of victims required by the order be

paid to the victims before any restitution is paid to [] a provider of compensation.”).

       Altogether, the Court concludes that the government, particularly via its

reply,9 has both adequately supported its restitution requests for the 87 victims of

this enterprise with sufficient reliable evidence and adequately explained why its

calculations of those victims’ losses are legally correct under the MVRA and

corresponding caselaw. The Court will therefore grant the government’s motion and

order Defendants to pay the victims restitution in the amounts tabulated by Christ

and laid out in the separately docketed Appendix to this Opinion and Order.10

                                      CONCLUSION

       At long last, this criminal racketeering matter comes to rest. After review of

the government’s submissions and analysis of the belated responses from three

Defendants, the Court reaches the sole issue (over which it still retains jurisdiction)

that was left open at each party’s sentencing: the amount of restitution Defendants

owe victims under the MVRA. As previewed in its prior orders on restitution, (Docs.

168, 246), the Court now modifies Defendants’ respective judgments under 18 U.S.C.




9 The Court briefly notes that it appreciates the government’s decision to address the concerns

the Court raised in the April 17, 2024, status conference and to revise its calculations of the
restitution awards accordingly.
10 The Court will file separately a publicly available Appendix setting forth the names of the

victims and the amount of restitution owed. But in the interests of protecting the privacy of
these parties, the Court will file a second, sealed Appendix that details the contact
information for these victims, so that the Clerk of the United States District Court for the
Southern District of Ohio may distribute restitution funds.
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§ 3664(d)(5) to state the award amount—though it adheres to its prior determination

that Defendants will be held jointly and severally liable for this award.

      Simply, as explained in detail above, the Court GRANTS IN PART AND

DENIES IN PART11 the Government’s Motion for Restitution Order (Doc. 297) and

MODIFIES the prior judgments in this matter as to restitution as follows:

      The Court ORDERS Defendants Andrey Shuklin, Serghei Verlan, Phyllis

Ricci Quincoces, Vladimir Pestereanu, Ievgen Kariaka, Akhliddin Kalonov, Roman

Iakovlev, Jessica Martin, and Seth Nezat TO PAY A TOTAL OF $735,185.75 IN

RESTITUTION to the victims of their criminal conduct according to the schedule

set forth in the separately docketed Appendix to this Opinion and Order, for which

total amount they are JOINTLY AND SEVERALLY LIABLE. In accordance with

18 U.S.C. § 3664(j)(1), the Court ORDERS that individual victims identified in the

separately docketed Appendix as the PRIMARY PAYEES be paid before any

restitution funds are paid to Salvation Army or to the listed insurers, who are

identified in the separately docketed Appendix as the SECONDARY PAYEES.

      In line with this order, the Court rejects the requests for apportionment made

by Martin, Pestereanu, and Kalonov, which the Court construes as motions for the

Court to modify the previously entered restitution orders. But it sustains Martin’s

additional request that she be permitted to repay her restitution obligation via

periodic nominal payments. Accordingly, the Court DENIES Kalonov’s Motion for



11 Because Christ revised his calculations, the Court
                                                    DENIES the Motion (Doc. 297) IN
PART to the extent that it requested a restitution amount that differs from the revised
spreadsheet attached to the government’s reply.
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Apportionment (Doc. 303), and Pestereanu’s Objection to Restitution and Request for

Apportionment Should Restitution Be Ordered (Doc. 302). And it GRANTS IN PART

(to the extent that Martin requests a modification to her repayment plan under 18

U.S.C. § 3664(f)(3)(B), (k), (o)(1)(D)) and DENIES IN PART (to the extent that

Martin seeks apportionment) Martin’s Motion with Respect to Restitution (Doc. 301).

So pursuant to 18 U.S.C. § 3664(f)(3)(B), the Court ORDERS that Martin SHALL

satisfy her restitution obligations by making NOMINAL PERIODIC PAYMENTS

IN THE FORM OF A MONTHLY $200.00 PAYMENT.

      SO ORDERED.


 September 5, 2024
 DATE                                     DOUGLAS R. COLE
                                          UNITED STATES DISTRICT JUDGE




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